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                                                            9                               UNITED STATES DISTRICT COURT
                                                           10                                      DISTRICT OF NEVADA
                                                           11
                                                                ROXANNE WHITTUM, individually and on                CASE NO.: 2:18-cv-01574-RFB-PAL
                  3883 HOWARD HUGHES PARKWAY, SUITE 1100




                                                           12   behalf of all and others similarly situated,
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                                                           13                         Plaintiff,                    DEFENDANT ACCEPTANCE NOW
                                                                                                                    WEST LLC’S MOTION TO STAY
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                                                           14   vs.                                                 DISCOVERY PENDING
Snell &L.L.P.




                                                           15   ACCEPTANCE NOW,                                     RESOLUTION OF DISPOSITIVE
                                                                                                                    MOTIONS
                                                           16                         Defendant.
                                                           17

                                                           18

                                                           19          Defendant Acceptance Now West LLC (“Acceptance Now”)1, by and through its counsel,
                                                           20   the law firm of Snell & Wilmer L.L.P., hereby moves this Court to stay discovery between
                                                           21   Plaintiff Roxanne Whittum (“Plaintiff”) and Acceptance Now pursuant to Rule 26 of the Federal
                                                           22   Rules of Civil Procedure, pending the disposition of Acceptance Now’s Motion to Dismiss
                                                           23   Plaintiff’s First Amended Complaint pursuant to Fed. R. Civ. P. 12(b)(6) [ECF No. 19], or
                                                           24   alternatively, Motion to Strike Class Allegations pursuant to Fed. R. Civ. P. 12(b)(2) [ECF No.
                                                           25   20]. This motion is based upon the pleadings and papers on file herein, the points and authorities
                                                           26

                                                           27   1
                                                                  Defendant was erroneously named in Plaintiff’s Complaint and again in the First Amended
                                                           28   Complaint as “Acceptance Now” – as noted in Defendant’s prior motions, there is no such
                                                                corporate entity.
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                                                            1   submitted herewith, and any oral argument that the Court may entertain at a hearing in this
                                                            2   matter.
                                                            3                             MEMORANDUM OF POINTS AND AUTHORITIES
                                                            4   I.        INTRODUCTION
                                                            5             Acceptance Now has filed a substantial Motion to Dismiss Plaintiff’s First Amended
                                                            6   Complaint under Federal Rule of Civil Procedure 12(b)(6) (“Motion to Dismiss”), as well as an
                                                            7   alternative Motion to Strike Plaintiff’s Class Allegations under Federal Rule of Civil Procedure
                                                            8   12(b)(2) (“Motion to Strike”) that would impact any potential class membership. Acceptance
                                                            9   Now has also moved, in the alternative, for judgement on the pleadings convertible to summary
                                                           10   judgment, given the nature of the telephone used to place calls to Plaintiff. Acceptance Now
                                                           11   respectfully requests that this Court not allow Plaintiff to proceed with discovery (in particular,
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                                                           12   discovery into her allegations brought on behalf of a putative nationwide class) while these
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                                                           13   serious challenges to the basis of Plaintiff’s entire action are pending.
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                                                           14             While the standard to justify a stay is demanding, this case amply satisfies it. In deciding
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                                                           15   whether to stay discovery, the Court weighs the expense of discovery against “the underlying
                                                           16   principle that a stay of discovery should only be ordered if the court is ‘convinced’ that a plaintiff
                                                           17   will be unable to state a claim for relief.” Tradebay, LLC v. eBay, Inc., 278 F.R.D. 597, 603 (D.
                                                           18   Nev. 2011). The Court also considers whether the pending motion is potentially dispositive of the
                                                           19   entire case and whether that motion can be decided without additional discovery. Solida v. U.S.
                                                           20   Dep’t of Fish & Wildlife, 288 F.R.D. 500, 506 (D. Nev. 2013). Acceptance Now’s Motions
                                                           21   warrant a stay under each consideration.
                                                           22             As Acceptance Now explained in its Motions pending before the Court, Plaintiff’s First
                                                           23   Amended Complaint (“FAC”) is bereft of any factual allegations that would make the use of
                                                           24   TCPA-restricted dialing equipment by Acceptance Now (let alone improper use of such
                                                           25   equipment) more likely than not. Similarly, Plaintiff’s Nevada Deceptive Trade Practices Act
                                                           26   (“NDTPA”) claim alleges conduct that, even if true, is outside the scope of the NDTPA. Plaintiff
                                                           27   alleges that Acceptance Now’s calls constituted a “deceptive trade practice” because Acceptance
                                                           28   Now sought to collect money from the wrong person and to “solicit” contact information for


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                                                            1   another person. Courts are clear that the NDTPA only applies when a person violates a statute or
                                                            2   regulation relating to the sale or lease of goods or services, and that the activities alleged by
                                                            3   Plaintiff do not fall into the scope of the NDTPA. Plaintiff’s First Amended Complaint does not
                                                            4   (and cannot) allege that Acceptance Now sold or leased goods or services to Plaintiff. Finally,
                                                            5   Plaintiff’s nationwide class allegations should be stricken pursuant to Rule 12(b)(2) and Plaintiff
                                                            6   should be instructed by the district court to amend her class definition to exclude non-Nevada
                                                            7   residents from her proposed “Class 1” class membership.
                                                            8          Acceptance Now is confident that a “preliminary peek” at its Motions will convince this
                                                            9   Court that Plaintiff’s action will not survive, and that a stay is warranted. The pending Motions
                                                           10   potentially dispose of the entire action. Also, no discovery is needed to decide the Motions. In
                                                           11   addition to the law supporting such a stay, pressing discovery forward will result in prejudice to
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                                                           12   Acceptance Now. For all these reasons, a stay pending adjudication of the Motion to Dismiss and
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                                                           13   alternative Motion to Stay is justified and warranted.
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                                                           14   II.    RELEVANT FACTUAL AND PROCEDURAL BACKGROUND
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                                                           15          Plaintiff’s First Amended Complaint is rooted in alleged violations of the Telephone
                                                           16   Consumer Protection Act (“TCPA”) and the NDTPA. However, the TCPA does not apply to just
                                                           17   any call placed to a cellular phone. Instead, calls to cellular phones only face restrictions under
                                                           18   the that statute if they are prerecorded and/or placed with certain kinds of dialing equipment, and
                                                           19   are placed without the recipient’s prior express consent. See 47 U.S.C. § 227(b).
                                                           20          While Plaintiff claims that she received calls from Acceptance Now on her cellular phone
                                                           21   and baldly states that the calls were placed “using an ATDS without consent to place such calls”
                                                           22   (FAC, ¶ 31), she alleges no facts that would indicate that an ATDS was used, instead asserting
                                                           23   based solely on “information and belief” that an ATDS or predictive dialer restricted by the
                                                           24   TCPA was employed in calls she received (id., ¶¶ 24-28, 31). Then, based on her “belief” that an
                                                           25   “ATDS” was used to place calls to her (calls that she believes were intended for her sister (id., ¶¶
                                                           26   28, 31)), Plaintiff asserts putative classwide claims under the TCPA for all calls by Acceptance
                                                           27   Now going back four years. (Id., ¶¶ 31, 45-56.)
                                                           28          Likewise, the NDTPA does not apply to this kinds of facts alleged in Plaintiff’s First


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                                                            1   Amended Complaint regarding calls placed in an attempt to reach Plaintiff’s sister. The NDTPA
                                                            2   only applies when a person violates a statute or regulation relating to the sale or lease of goods
                                                            3   or services. The FAC does not allege (and cannot) that Acceptance Now sold or leased goods or
                                                            4   services to Plaintiff, or attempted to sell or lease goods or services to Plaintiff.
                                                            5           Based on the factual and legal inadequacies of Plaintiff’s complaint, on November 7,
                                                            6   2018, Acceptance Now filed a motion to dismiss Plaintiff’s complaint pursuant to FRCP
                                                            7   12(b)(6) [ECF No. 13]; in the alternative, motion to strike class allegations pursuant to FRCP
                                                            8   12(B)(2) [ECF No. 14]. Plaintiff filed a First Amended Complaint on November 20, 2018 [ECF
                                                            9   No. 18]. Accordingly, on December 4, 2018, Acceptance again filed a motion to dismiss
                                                           10   Plaintiff’s first amended complaint pursuant to FRCP 12(b)(6) [ECF No. 19]; in the alternative,
                                                           11   motion to strike class allegations pursuant to FRCP 12(B)(2) [ECF No. 20]. Plaintiff responded
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                                                           12   to the motions on December 31, 2018 [ECF Nos. 23, 24]. Acceptance filed its replies on January
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                                                           13   11, 2019 [ECF Nos. 25, 26]. As such, the motions are fully briefed and pending resolution before
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                                                           14   the district court.
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                                                           15           The parties conducted a discovery conference pursuant to Fed. R. Civ. P. 26(f) and LR
                                                           16   26-1(f) on February 22, 2019. During that conference, counsel for the parties discussed the
                                                           17   instant motion and why Acceptance Now believed a stay was both economical and warranted.
                                                           18   Unfortunately, the parties could not reach a resolution without Court intervention.
                                                           19   III.    LEGAL ARGUMENT
                                                           20           A.      Legal Standard.
                                                           21           A federal court has the inherent power to stay proceedings in its own court. See Landis v.
                                                           22   N. Am. Co., 299 U.S. 248, 254-55 (1936). Further, district courts have “wide discretion in
                                                           23   controlling discovery.” Little v. City of Seattle, 863 F.2d 681, 685 (9th Cir. 1988).
                                                           24           “In evaluating the propriety of an order staying or limiting discovery while a dispositive
                                                           25   motion is pending, this court considers the goal of [Fed. R. Civ. P.] 1 . . . , which directs that the
                                                           26   Rules shall ‘be construed and administered to secure the just, speedy, and inexpensive
                                                           27   determination of every action.’” Tradebay, 278 F.R.D. at 602-03. In so ruling, the District of
                                                           28   Nevada Court further recognized that “[d]iscovery is expensive.” Id. Thus, with Rule 1 as its


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                                                            1   “prime directive, this court must decide whether it is more just to speed the parties along in
                                                            2   discovery . . . while a dispositive motion is pending, or whether it is more just to delay or limit
                                                            3   discovery . . . to accomplish the inexpensive determination of the case.” Id.
                                                            4          Stated differently, the trial court “must balance the harm produced by a delay in discovery
                                                            5   against the possibility that a dispositive motion will be granted and entirely eliminate the need for
                                                            6   such discovery.” Chavous v. Dist. of Columbia Fin. Responsibility & Mgmt. Assistance Auth.,
                                                            7   201 F.R.D. 1, 3-4 (D.D.C. 2001); see also Nankivil v. Lockheed Martin Corp., 216 F.R.D. 689,
                                                            8   692 (M.D. Fla. 2003) aff'd, 87 F. App’x 713 (11th Cir. 2003); Ass’n Fe Y Allegria v. Republic of
                                                            9   Ecuador, 1999 WL 147716 (S.D. N.Y. Mar. 16, 1999); Feldman v. Flood, 176 F.R.D. 651, 652
                                                           10   (M.D. Fla. 1997). The Court weighs the expense of discovery against “the underlying principle
                                                           11   that a stay of discovery should only be ordered if the court is ‘convinced’ that a plaintiff will be
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                                                           12   unable to state a claim for relief.” Tradebay, 278 F.R.D. at 603. A magistrate judge may take a
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                                                           13   “preliminary peek” at the pending dispositive motion, without prejudging its outcome, to evaluate
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                                                           14   the propriety of an order staying . . . discovery with the goal of accomplishing the objectives of
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                                                           15   [Fed. R. Civ. P.] 1.” Id.
                                                           16          A cursory “peek” at both Acceptance Now’s Motion to Dismiss and Motion to Strike
                                                           17   (portions of which are included in this briefing) shows that Plaintiff cannot maintain her action.
                                                           18   Justice strongly favors postponing discovery while the dispositive motions are pending, in light of
                                                           19   the substantial legal challenges to Plaintiff’s First Amended Complaint. Additionally, Acceptance
                                                           20   Now’s Motion to Dismiss is potentially dispositive of all claims asserted against it and does not
                                                           21   require discovery for the district court to decide it. Therefore, this Court should stay discovery.
                                                           22          B.      The Arguments on the Merits in Acceptance Now’s Motion to Dismiss
                                                                               Independently Justifies a Stay of Discovery.
                                                           23

                                                           24          Plaintiff asserts claims against Acceptance Now for: (1) negligent violations of the TCPA;

                                                           25   (2) knowing/willful violations of the TCPA; and (3) violations of the NDTPA. Acceptance Now

                                                           26   has moved to dismiss all of Plaintiff’s claims for failure to state a claim upon which relief can be

                                                           27   granted, and alternatively moved to strike Plaintiff’s class allegations. A ruling in Acceptance

                                                           28   Now’s favor would leave no remaining claims making the Motion to Dismiss dispositive of all


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                                                            1   claims asserted against Acceptance Now.
                                                            2           Because Plaintiff is unable to provide a factual or legal basis to sustain any claims, the
                                                            3   Court should and likely will dismiss Plaintiff’s claims as a matter of law. Id. A “preliminary
                                                            4   peek” should convince the Court that Plaintiff’s claims are destined to fail, such that Acceptance
                                                            5   Now should not be subjected to discovery in this case.           Tradebay, 278 F.R.D. at 608.
                                                            6   Accordingly, a stay of discovery pending the resolution of the Motion to Dismiss is warranted.
                                                            7                  1.     Plaintiff Fails to Plead Claims for Violations of the TCPA
                                                            8           Plaintiff’s two TCPA causes of action (for “negligent” and for “knowing” TCPA
                                                            9   violations) could only be viable if Acceptance Now called Plaintiff’s cellular phone with a
                                                           10   prerecorded message and/or with an ATDS system, without her prior consent. See Meyer, 707
                                                           11   F.3d at 1043; see also 47 U.S.C. § 227(b)(1). While Plaintiff does provide factual allegations that
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                                                           12   her telephone number was connected with her cellular phone (FAC, ¶ 25), and that she had not
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                                                           13   consented to calls from Acceptance Now (id. at ¶ 26), Plaintiff offers no facts to support her
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                                                           14   claim that the calls were placed by an ATDS other than the bare and unsupported legal
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                                                           15   conclusions, based on “information and belief”, that an ATDS “dialing campaign” was used to
                                                           16   call her:
                                                           17                         27.     Upon information and belief, Defendant employs an automatic
                                                                               telephone dialing system (“ATDS”) which meets the definition set forth in 47
                                                           18                  U.S.C. § 227(a)(1) to transmit its phone calls to Plaintiff.
                                                           19                          28. Upon information and belief, Acceptance conducted dialing campaigns
                                                                               using its ATDS to the Plaintiff’s cell phone and those similarly situated.
                                                           20

                                                           21   Id., ¶¶ 27-28. After making these conclusory statements on “information and belief,” and after
                                                           22   citing to some legal decisions in her Complaint about “ATDS” systems, Plaintiff then makes
                                                           23   other statements about “Defendant’s ATDS” (see, e.g., FAC, ¶ 33)—all without providing any
                                                           24   factual assertion that would make Acceptance Now’s use of an ATDS in the calls about which
                                                           25   she complains more likely than the use of a regular, manually dialed telephone.
                                                           26           But, the Court is not required “to accept as true allegations that are merely conclusory,
                                                           27   unwarranted deductions of fact, or unreasonable inferences.” In re Gilead Scis. Sec. Litig., 536
                                                           28   F.3d 1049, 1056–57 (9th Cir.2008); Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th


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                                                            1   Cir.2001). Although legal conclusions may provide the framework of a complaint, legal
                                                            2   conclusions are not accepted as true and “[t]hreadbare recitals of elements of a cause of action,
                                                            3   supported by mere conclusory statements, do not suffice.” Iqbal, 129 S.Ct. at 1949–50. Thus,
                                                            4   courts in the Ninth Circuit find TCPA complaints like Plaintiff’s inadequately pled and
                                                            5   dismissible under Rule 12(b)(6) when no facts are offered that would make use of an ATDS more
                                                            6   likely than not. See, e.g., Duguid v. Facebook, Inc., 2016 WL 1169365, at *4 (N.D. Cal., Mar.
                                                            7   24, 2016) (“This conclusory allegation that Facebook used an ATDS is not, without more,
                                                            8   sufficient to support a claim for relief under the TCPA.”).
                                                            9           Where (as here) only conclusory statements regarding the use of an ATDS are made and
                                                           10   the FAC makes obvious that calls were targeted (see FAC, ¶ 25 (“Defendant contacted Plaintiff in
                                                           11   an attempt to collect a debt alleged owed by Plaintiff’s sister, and Defendant contacted Plaintiff to
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                                                           12   solicit information regarding Plaintiff’s sister”)), courts have found that the use of an ATDS is not
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                                                           13   made plausible by mere allegations of its use. See Daniels v. Cmty. Lending, Inc., 2014 WL
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                                                           14   51275, at *5 (S.D. Cal. Jan. 6, 2014) (plaintiffs did not adequately allege the use of an ATDS
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                                                           15   where the “calls are alleged to be directed specifically toward Plaintiffs”).
                                                           16           As the Duguid court explained when considering bald claims regarding an ATDS, “it is at
                                                           17   least possible that Defendant utilized a system that is capable of storing or generating a random or
                                                           18   sequential list of telephone numbers and then dialing them, but nothing in Plaintiff’s Complaint
                                                           19   nudge[s] [his] claims across the line from conceivable to plausible.” 2016 WL 1169365, at *5
                                                           20   (emphasis added; internal quotes and citations omitted). Here, too, there are only allegations that
                                                           21   Plaintiff received some calls from Acceptance Now, attempting to contact her regarding her
                                                           22   sister’s Lease Purchase Agreement. There are no facts alleged that would make use of an ATDS
                                                           23   in these calls more likely than not. “A claim has facial plausibility when the plaintiff pleads
                                                           24   factual content that allows the court draw the reasonable inference that the defendant is liable for
                                                           25   the misconduct alleged.” Iqbal, 129 S.Ct. at 1949. Here, there is no basis for a reasonable
                                                           26   inference that Acceptance Now used (let alone misused) an ATDS dialing system in calling
                                                           27   Plaintiff, and her claims lack facial plausibility.
                                                           28           Plaintiff’s First Amended Complaint is inadequate on its face and must be dismissed


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                                                            1   pursuant to Rule 12(b)(6).
                                                            2          2.      Plaintiff’s TCPA Claims Fail as a Matter of Law
                                                            3          Should the district court not grant the Motion to Dismiss for the reasons articulated above,
                                                            4   Acceptance Now moved separately and alternatively for dismissal, citing a declaration from
                                                            5   Andre Griffis, filed with its original Motion to Dismiss at ECF 13. Acceptance Now understands
                                                            6   that if the district court reaches this alternative motion to dismiss, it will convert this motion into
                                                            7   one for summary judgment. See United States v. Ritchie, 342 F.3d 903, 907 (9th Cir. 2003)
                                                            8   (typically, if a court relies on materials outside the pleadings in ruling on a motion to dismiss, it
                                                            9   must treat the motion as a motion for summary judgment).
                                                           10          Acceptance Now is a subsidiary of Rent-A-Center Inc., and its locations, which are
                                                           11   located in a kiosk-type setup within a third-party host retail furniture or appliance store, rent or
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                                                           12   sell merchandise that has been purchased from a domestic and/or overseas manufacturers,
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                                                           13   suppliers, and distributors, which inventory is transported across state lines for delivery to the
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                                                           14   host store. See Griffis Decl. [ECF No. 13] at ¶ 2. Acceptance Now leases furniture, electronics
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                                                           15   and appliances to its customers, offering flexible rental-purchase agreements with affordable
                                                           16   rental rates. Id., ¶ 3. When consumers apply for rent-to-own contracts with Acceptance Now,
                                                           17   they are asked to provide references—persons who can verify the customer’s information. Id., ¶
                                                           18   7. If the store cannot locate that customer, an Acceptance Now employee at the location where
                                                           19   the customer entered into his or her agreement may attempt to call one of the customer’s
                                                           20   references to seek new or updated contact information. Id.
                                                           21          On March 17, 2018, Plaintiff was listed as a reference on an application by an Acceptance
                                                           22   Now customer.      Id., ¶ 8.   Plaintiff’s telephone number (702-XXX-2763) was provided to
                                                           23   Acceptance Now by the applicant when she entered into a rental-purchase agreement for a new
                                                           24   living room set. Id. In July 2018, in an attempt to locate the customer, an employee at the
                                                           25   location where the customer executed her agreement then attempted to reach Plaintiff at the 2763
                                                           26   number to ascertain whether Plaintiff had any information regarding the customer’s whereabouts,
                                                           27   such as updated or new contact information. Id., ¶ 10.
                                                           28          Six (6) call attempts to Plaintiff’s 2763 Number were placed once a week over a six-week


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                                                            1   period (on July 3, 2018; July 10, 2018; July 17, 2018; July 24, 2018; July 31, 2018; and August 7,
                                                            2   2018). Id., ¶ 11. For each call attempt to Plaintiff’s number, the employee would have entered
                                                            3   by hand the 10-digit telephone number into this stand-alone phone; there is no ability for the
                                                            4   AT&T phone to store such numbers and/or dial them. Id., ¶ 13. Each call was placed by the
                                                            5   employee using an AT&T stand-alone phone, model SB67138, and a photo of the phone at the
                                                            6   store used to call Plaintiff is depicted below:
                                                            7

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                                                           21   Id., ¶ 12 & image (AT&T stand-alone phone used to dial Plaintiff’s number). The store’s AT&T
                                                           22   phone from which the calls were placed to Plaintiff was not connected to a computer or to other
                                                           23   equipment. Id., ¶ 14.
                                                           24          Thus, each call that an Acceptance Now store employee places, like those attempted to
                                                           25   Plaintiff, must be individually and manually dialed—one digit at a time—into the stand-alone
                                                           26   AT&T phone used by that store employee for inbound and outbound calls. See, id., ¶¶ 12-14, 16.
                                                           27   Plaintiff was not contacted via any kind of “dialing system” and was only called through old-
                                                           28


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                                                            1    fashioned, manual, digital entry of her number into the store telephone depicted above. Id., ¶ 16.2
                                                            2    Given these facts, Plaintiff’s bare allegations that an ATDS was employed in the calls she
                                                            3    received fail entirely to provide an adequate basis for proceeding with her TCPA claims, and her
                                                            4    First Amended Complaint should be dismissed.
                                                            5                    3.     Plaintiff Fails to Plead a Claim for Violations of the NDTPA
                                                            6           Plaintiff’s NDTPA cause of action fails to state a claim because the phone calls placed by
                                                            7    Acceptance Now are not within the scope of the NDTPA.
                                                            8           “A person engages in a ‘deceptive trade practice’ when in the course of his business or
                                                            9    occupation he knowingly ... [v]iolates a state or federal statute or regulation relating to the sale
                                                           10    or lease of goods or services,” or “uses coercion, duress or intimidation in a transaction.” NRS
                                                           11    598.023(3-4). Thus, to state a claim under the NDTPA, a plaintiff must show that “(1) an act of
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                                                           12    consumer fraud by the defendant (2) caused (3) damages to the plaintiff.” See, e.g. Peatrowsky
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                                                           13    v. Persolve, 2:12–cv–00935–JAD–VCF, 2014 WL 1215061, at *5 (D. Nev. Mar. 24, 2014).
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                                                           14    Plaintiff cannot establish any of these elements and her NDTPA claim must be dismissed.
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                                                           15            To support her allegations, Plaintiff erroneously relies on NRS 598.0918, which governs
                                                           16    deceptive trade practices on behalf of an individual during a solicitation by telephone or sales
                                                           17    presentation.   Plaintiff offers merely the conclusory allegation that, “Defendant knowingly
                                                           18    and/or willfully solicited and placed phone calls to Plaintiffs for debts for which they did not
                                                           19    owe repeatedly or continuously in a manner considered by a reasonable person to be annoying,
                                                           20    abusive or harassing.” FAC, ¶ 80.        But Plaintiff has in no way adequately alleged how
                                                           21    Acceptance Now solicited her in relation to the sales of goods or services to her. Indeed,
                                                           22    Plaintiff has not alleged any facts that could possibly support the application of NRS 598.0918.
                                                           23           Courts in this district have consistently confirmed that “NRS 598 only applies to persons
                                                           24    engaging in the sale of goods or services.” See Baeza v. Bank of Am. N.A., No. 3:11–cv–767–
                                                           25    RCJ–VPC, 2012 WL 4062809 at *4 (D. Nev. Sept. 14, 2012) (citing Reyes v. BAC Home Loans
                                                           26

                                                           27    2
                                                                   Acceptance Now’s counsel has explained the above facts to Plaintiff’s counsel and has provided
                                                           28    images and manuals of the AT&T telephone that the Acceptance Now employee used to attempt
                                                                 to reach Plaintiff. See id., ¶ 17.

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                                                            1    Servicing, 2012 WL 2367803, at *2 (D. Nev. 2012)).3 Plaintiff even admits in her FAC that the
                                                            2    purpose of the calls to Plaintiff were in relation to an already-executed Lease Agreement entered
                                                            3    into by Plaintiff’s sister and monies owed to Acceptance Now. See, e.g., FAC ¶ 80. Thus, the
                                                            4    activities Plaintiff alleges (see, e.g., FAC, ¶¶ 60, 80) are not governed by NDTPA. Indeed,
                                                            5    Nevada’s Attorney General, who is charged with enforcement of NRS Chapter 598 (see, e.g.,
                                                            6    NRS 598.096-598.0963) has confirmed that “debt collection” is specifically not deceptive trade
                                                            7    under NRS Chapter 598. See Nevada Attorney General, About Bureau of Consumer Protection
                                                            8    (available at: http://ag.nv.gov/About/Consumer_Protection/Bureau_of_Consumer_Protection/)
                                                            9    (last visited March 25, 2019). Moreover, NRS 80.015, which defines “activities not constituting
                                                           10    doing business” in the state of Nevada, explicitly provides at Section 80.015(h) that securing
                                                           11    monies owed to a company does not constitute doing business in the State of Nevada. NRS
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                                                           12    80.015(1)(h). Because “securing or collecting debts” does not constitute doing business in
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                                                           13    Nevada, Plaintiff’s claim that she received “debt collection” calls would not constitute actionable
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                                                           14    behavior “in the course of ... business” as required by the NDTPA. See Peatrowski, 2014 WL
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                                                           15    1215061, at *5.
                                                           16           Several recent District of Nevada decisions also confirm that alleged violations of the
                                                           17    TCPA in the placement of collections-related calls are insufficient to trigger a NDTPA claim
                                                           18    because the alleged violations were not related to the sale or lease of goods and/or services. See,
                                                           19    e.g., Peatrowsky, 2014 WL 1215061, at *5; see also Kervin v. GC Services, Ltd. P’ship, 2:13–
                                                           20    cv–01461–MMD–PAL, 2014 WL 584966, at *2 (D. Nev. Feb. 12, 2014) (dismissing plaintiff’s
                                                           21    NDTPA claims because Chapter 598 only applies to transactions involving goods and services,
                                                           22    not collection activities). An NDTPA claim based on such facts “is an attempt to shove [his]
                                                           23    square facts into this round hole of Nevada law.” Peatrowsky, 2014 WL 1215061, at *5. Here,
                                                           24    as in Peatrowsky, it is clear from the face of the FAC that Plaintiff’s alleged TCPA violations
                                                           25    are not related to the sale or lease of goods or services.
                                                           26
                                                                 3
                                                           27      See also Archer v. Bank of Am. Corp., 2:11–cv–1264, 2011 WL 6752562, *2 (D. Nev. Dec.
                                                                 23, 2011); Lee v. BAC Home Loans Servicing, LP, 2:11–cv–1583, 2011 WL 5827202, *3 (D.
                                                           28    Nev. Nov. 18, 2011); Lalwani v. Wells Fargo Bank, 2:11–cv–0084, 2011 WL 4574338, *2 (D.
                                                                 Nev. Sept. 30, 2011).

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                                                            1           The FAC does not allege that Acceptance Now was engaged in the sale of goods or
                                                            2    services in placing calls to Plaintiff’s number—only that Acceptance Now made calls for debt
                                                            3    collection purposes. See, e.g., FAC at ¶ 80. Then, Plaintiff’s NDTPA claim provides no factual
                                                            4    allegations beyond a recitation of elements and legal conclusions which are not entitled to the
                                                            5    presumption of truth. See Iqbal, at 679. Plaintiff does not explain what alleged action by
                                                            6    Acceptance Now relates to “the sale or lease of goods or services” as required for NRS 598 to
                                                            7    apply. Because NRS 598 does not apply for the reasons detailed above, Plaintiff’s claim for
                                                            8    NDTPA fails as a matter of law and must be dismissed. Further, her allegations involving a
                                                            9    NDTPA “Class 2” putative class membership should also be dismissed since there is no factual
                                                           10    basis for a NDTPA cause of action.
                                                           11                   4.     Plaintiff Fails to Plead her NDTPA Claim with the Requisite Particularity
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                                                           12           Even though it should already be clear from the discussion in the section above that
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                                                           13    Plaintiff’s NDTPA claim must be dismissed, there is an independent and different reason for
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                                                           14    doing so: a private right of action for a violation of the NDTPA may be brought only under NRS
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                                                           15    41.600, which states that “[a]n action may be brought by any person who is a victim of consumer
                                                           16    fraud” and encompasses a “deceptive trade practice” as defined in NRS 598.0915 to NRS
                                                           17    598.0925. See NRS 41.600(2)(e).       Thus, when a “plaintiff is filing for misconduct under
                                                           18    Nevada’s Unfair and Deceptive Trade Practices Act (NDTPA), the claim must be pled with
                                                           19    particularity under Federal Rule of Civil Procedure 9(b).”          Horner v. Mortgage Elec.
                                                           20    Registration Sys., Inc., Case No. 2:12–CV–269 JCM-GWF, 2012 WL 2017589, at *2 (D. Nev.
                                                           21    June 5, 2012) (citing Thorne v. Wagner, Case No. 2:06–cv–492, 2007 WL 496373, at *3 (D.
                                                           22    Nev. Feb. 13, 2007); see also Kervin, 2014 WL 584966, at 2. “In order to have a sufficiently
                                                           23    particular pleading, the complaint must include ‘averments of the time, the place, the identity of
                                                           24    the parties involved, and the nature of the fraud.’” Horner, 2012 WL 2017589, at *2 (citing
                                                           25    Moore v. Kayport Package Express, Inc., 885 F.2d 531, 540 (9th Cir. 1989). Indeed, under
                                                           26    Nevada law, “[c]laims for fraud, consumer fraud, constructive fraud, and civil conspiracy must
                                                           27    satisfy NRCP 9(b)’s heightened pleading standards.” Davenport v. Homecomings Financial,
                                                           28    LLC, 2014 WL 1318964, *2 (Nev. Mar. 31, 2014) (emphasis added).


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                                                            1           Here, Plaintiff fails to “state the time, place, and specific content of the false
                                                            2    representations” or otherwise plead her consumer fraud/NDTPA claim with particularity under
                                                            3    Rule 9(b), and therefore, the Court should dismiss this claim. See, e.g., Sanford v. MemberWorks,
                                                            4    Inc., 625 F.3d 550, 558 (9th Cir. 2010); Horner, 2012 WL 2017589, at *2. Indeed, Plaintiff has
                                                            5    not alleged any false representations, nor can she, considering that the alleged wrongdoing does
                                                            6    not involve fraudulent representation4 and the First Amended Complaint in no way supports a
                                                            7    claim for consumer fraud or an NDTPA violation. Instead, the allegations set forth in Paragraphs
                                                            8    79-83 of the First Amended Complaint merely recite legal elements and make hollow legal
                                                            9    conclusions regarding an NDTPA claim under NRS chapter 598. Plaintiff fails to sufficiently
                                                           10    plead facts to support this cause of action. The FAC’s allegations are therefore not entitled to any
                                                           11    assumption of truth and are insufficient to support her NDTPA claim. Because the NDTPA claim
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                                                           12    was not pleaded with particularity, it (and the “Class 2” class-wide allegations under it) must be
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                                                           13    dismissed.
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                                                           14           C.      The Arguments on the Merits in Acceptance Now’s Motion to Strike
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                                                                                Independently Justify a Stay of Discovery.
                                                           15

                                                           16           Courts have general jurisdiction over a foreign corporation only if the corporation’s

                                                           17    connections to the forum state “are so ‘continuous and systematic’ as to render [it] essentially at

                                                           18    home in the forum State.” Id. Plaintiff makes no such claim regarding Acceptance Now in the

                                                           19    First Amended Complaint, but it would not, in any case, be enough to simply allege that a

                                                           20    corporation has “continuous activity of some sorts within a state.” See Daimler AG v. Bauman,

                                                           21    571 U.S. 117, 137 (2014) (declining to stretch the traditional limits of general jurisdiction, and

                                                           22    noting “With respect to a corporation, the place of incorporation and principal place of business

                                                           23    are ‘paradig[m] ... bases for general jurisdiction’”); see also Henry A. v. Willden, No. 10-528,

                                                           24    2014 WL 1809634 , at *6 (D. Nev. May 7, 2014) (finding that Supreme Court in Daimler has

                                                           25    clarified that “the reach of general jurisdiction is narrower than had been supposed in the lower

                                                           26    courts for many years”).

                                                           27
                                                                 4
                                                           28     Plaintiff does not allege that Acceptance Now made any fraudulent or other statements to her
                                                                 during telephone calls.

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                                                            1           Acceptance Now—a Texas corporation with its principal place of business in Texas—is
                                                            2    not “at home” in Nevada. See BNSF Ry. Co. v. Tyrrell, ––– U.S. ––––, 137 S.Ct. 1549, 1558
                                                            3    (2017) (“The ‘paradigm’ forums in which a corporate defendant is ‘at home,’ ... are the
                                                            4    corporation's place of incorporation and its principal place of business”); see also Ranza v. Nike,
                                                            5    Inc., 793 F.3d 1059, 1069 (9th Cir. 2015) (“The paradigmatic locations where general jurisdiction
                                                            6    is appropriate over a corporation are its place of incorporation and its principal place of business.
                                                            7    Only in an exceptional case will general jurisdiction be available anywhere else.”) (internal
                                                            8    quotations and citations omitted). Thus, jurisdiction over Acceptance Now does not exist in
                                                            9    Nevada federal courts through general jurisdiction.
                                                           10           Because there can be no claim of general jurisdiction here, Plaintiff must show there is
                                                           11    specific personal jurisdiction for the causes of action she hopes to pursue on behalf of a putative
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                                                           12    nationwide class. See Goodyear, 564 U.S. at 919. Specific jurisdiction is warranted only when a
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                                                           13    claim itself “arises out of or relates to the defendant’s contact with the forum.” Daimler, 134 S.
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                                                           14    Ct. at 749. To establish specific jurisdiction, a plaintiff must allege that (i) defendant’s activities
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                                                           15    are “purposefully directed” at the forum, (ii) plaintiffs’ claims “arise out of or relate to at least
                                                           16    one of those activities,” and (iii) the assertion of jurisdiction “otherwise comport[s] with fair play
                                                           17    and substantial justice.” Goodyear, 564 U.S. at 919. “[S]pecific jurisdiction is confined to
                                                           18    adjudication of issues deriving from, or connected with, the very controversy that establishes
                                                           19    jurisdiction.” Bristol-Myers Squibb Co. v. Superior Court of California, San Francisco Cty., 137
                                                           20    S. Ct. 1773, 1780 (2017) (“Bristol-Myers”).
                                                           21           Here, if Plaintiff’s First Amended Complaint is read to give Plaintiff the benefit of all
                                                           22    disputes, the FAC might be read so as to claim that there is specific jurisdiction in this Court over
                                                           23    Plaintiff’s own claims that as a Nevada resident, she received calls in Nevada that she claims
                                                           24    violated the TCPA. However, in light of the recent Supreme Court decision in Bristol-Myers,
                                                           25    various district courts have been correctly finding that putative class-wide claims for non-
                                                           26    residents of the forum state cannot piggyback on a named plaintiff’s own specific jurisdictional
                                                           27    claim. See Bristol-Myers, 137 S. Ct. at 1781 (the “mere fact that other [resident] plaintiffs” took
                                                           28    defendant’s drugs in the state and sustained the same injuries as nonresident plaintiffs did not


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                                                            1    provide the required “connection between the forum and the specific claims at issue” for the
                                                            2    Court to exercise jurisdiction over the nonresidents’ claims against defendant).
                                                            3           Late last term, in Bristol-Meyers, the Supreme Court examined whether specific
                                                            4    jurisdiction over all potential plaintiffs in an action could be established by the named plaintiff’s
                                                            5    own claims of specific jurisdiction in that forum and found that specific jurisdiction was lacking
                                                            6    over non-resident plaintiffs whose “harms” occurred in their own home states. See Bristol-Myers,
                                                            7    137 S. Ct. at 1781. There, 600 plaintiffs had filed claims in California state court against Bristol-
                                                            8    Myers Squibb Company — a company incorporated in Delaware and headquartered in New York
                                                            9    — asserting claims based on injuries allegedly caused by the pharmaceutical company’s drug
                                                           10    Plavix. See Bristol-Myers, 137 S. Ct. at 1777. Applying settled specific jurisdiction principles,
                                                           11    the U.S. Supreme Court ultimately held that because the nonresidents were not prescribed, did not
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                                                           12    purchase, did not ingest, nor get injured by Plavix in California, there was no “connection
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                                                           13    between the forum and the specific claims at issue.” Id. at 1781.
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                                                           14           The Court explained that “[t]he mere fact that [some] plaintiffs were prescribed, obtained,
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                                                           15    and ingested Plavix in California — and allegedly sustained the same injuries as did the
                                                           16    nonresidents — does not allow the State to assert specific jurisdiction over the nonresidents’
                                                           17    claims.” Id. In sum, in Bristol-Meyers, the Supreme Court mandated that each plaintiff –
                                                           18    whether a named representative or a putative class member – must establish personal jurisdiction
                                                           19    regardless of whether it is established for another claimant in the action. And, in light of Bristol-
                                                           20    Meyers, various federal district courts have found that nationwide class claims like Plaintiff’s
                                                           21    here must be dismissed from a complaint when there is no viable claim of general or specific
                                                           22    jurisdiction over non-resident class members’ claims.
                                                           23           In McDonnell v. Nature's Way Prod., LLC, No. 16 C 5011, 2017 WL 4864910 (N.D. Ill.
                                                           24    Oct. 26, 2017), a putative class action alleging consumer fraud arising from defendant’s energy
                                                           25    supplements in which plaintiff sought to bring claims on behalf out-of-state putative members,
                                                           26    the Northern District of Illinois expressly held that “[a]lthough these individuals are not named
                                                           27    plaintiffs, the analysis used in Bristol-Myers Squibb Co. is instructive in considering whether this
                                                           28    Court has personal jurisdiction over the claims [plaintiff] asserts on their behalf ....” Id., *4.


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                                                            1    Accordingly, the McDonnell court dismissed the portions of plaintiff’s class action complaint that
                                                            2    encompassed the claims on behalf of the out-of-state putative class members. Id., *5; see also
                                                            3    Chavez v. Church & Dwight Co., 2018 WL 2238191, at *11 (N.D. Ill. May 16, 2018) (“The Court
                                                            4    therefore concludes that Bristol-Myers extends to class actions, and that Chavez is therefore
                                                            5    foreclosed from representing either a nationwide and multistate class comprising non-Illinois
                                                            6    residents in this suit.”). Other courts have reached similar rulings. See, e.g. Spratley v. FCA US
                                                            7    LLC, 2017 U.S. Dist. LEXIS 147492 at * 18 (N.D.N.Y. September 12, 2017); DeBernardis v.
                                                            8    NBTY, Inc., No. 17 C 6125, 2018 WL 461228, at *2 (N.D. Ill. Jan. 18, 2018); Anderson v.
                                                            9    Logitech, Inc., 2018 WL 1184729 (N.D. Ill. Mar. 7, 2018) (striking nationwide class claims).
                                                           10           Likewise, in Wenokur v. AXA Equitable Life Ins. Co., 2017 WL 4357916 at* 4, n. 4 (D.
                                                           11    Arizona October 2, 2017), the Court specifically relied on Bristol-Myers and held that “[t]he
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                                                           12    Court also notes that it lacks personal jurisdiction over the claims of putative class members
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                                                           13    with no connection to Arizona and therefore would not be able to certify a nationwide class.”
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                                                           14    And in a recent TCPA decision on a motion to certify a class against Cirque de Soleil for fax
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                                                           15    advertisements sent nationwide, the district court noted that the intervening decision of Bristol-
                                                           16    Meyers meant that there was no specific jurisdiction (so as to establish personal jurisdiction) as to
                                                           17    non-Illinois residents, and that the class certified must exclude all non-residents. Practice Mgmt.
                                                           18    Support Servs., Inc. v. Cirque du Soleil, Inc., 2018 WL 1255021, at *18 (N.D. Ill. Mar. 12, 2018)
                                                           19    (“Because these nonresidents’ claims do not relate to defendants’ contacts with Illinois,
                                                           20    exercising specific personal jurisdiction over defendants with respect to them would violate
                                                           21    defendants’ due process rights. Thus, . . . the Court finds it appropriate to dismiss the claims of
                                                           22    the non-Illinois-resident class members.”).5 See also In re Dental Supplies Antitrust Litig., 2017
                                                           23    WL 4217115, at *9 (E.D.N.Y. Sept. 20, 2017) (“Plaintiffs attempt to side-step the due process
                                                           24    holdings in Bristol-Myers by arguing that the case has no effect on the law in class actions
                                                           25    because the case before the Supreme Court was not a class action. This argument is flawed. The
                                                           26
                                                                 5
                                                           27      Months later, the Practice Mgmt. Court then decertified even the statewide class it had certified,
                                                                 finding that under recent Supreme Court precedent the claims pending before it were untimely.
                                                           28    Practice Mgmt. Support Servs., Inc. v. Cirque du Soleil Inc., 2018 WL 3659349, at *6 (N.D. Ill.
                                                                 Aug. 2, 2018). But the Court did not undo its earlier decision following Bristol-Meyer’s analysis.

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                                                            1    constitutional requirements of due process does not wax and wane when the complaint is
                                                            2    individual or on behalf of a class. Personal jurisdiction in class actions must comport with due
                                                            3    process just the same as any other case.”).
                                                            4            Thus and at the least, Plaintiff’s nationwide class claims should be dismissed and/or
                                                            5    stricken from the First Amended Complaint.
                                                            6            D.       The Pending Motion to Dismiss Is Potentially Dispositive of the Entire Case.
                                                            7            In weighing the objectives of Rule 1 to determine whether a stay is appropriate, the Court
                                                            8    considers whether the pending motion is potentially dispositive of the entire case, Solida, 288
                                                            9    F.R.D. at 506. Here, the Motion to Dismiss will potentially (and likely) dispose of the entire
                                                           10    case.   As detailed above, the Motion to Dismiss provides a strong justification for why each
                                                           11    claim fails on its merits. The Motion potentially disposes of the entire action against Acceptance
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                                                           12    Now, and therefore satisfies this consideration in favor of a stay of discovery. See Tradebay, 278
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                                                           13    F.R.D. at 608.
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                                                           14            Similarly, the Motion to Strike is potentially dispositive of all of Plaintiff’s nationwide
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                                                           15    class claims, which, at the very least, would substantially narrow the scope of discovery.
                                                           16            E.       Acceptance Now’s Motion to Dismiss Can Be Decided without Discovery.
                                                           17            The Motion to Dismiss can also be decided without additional discovery, satisfying the
                                                           18    final criterion under Tradebay. Id.     Acceptance Now bases its Motion to Dismiss on the
                                                           19    allegations in the First Amended Complaint. Acceptance Now’s Motion not only can, but should,
                                                           20    be decided without discovery. The strength of Acceptance Now’s legal arguments is evident
                                                           21    from the summary of the failures of Plaintiff’s First Amended Complaint, above. Because the
                                                           22    Motion to Dismiss can and should be decided without discovery, this consideration favors a stay.
                                                           23    Tradebay, 278 F.R.D. at 608.
                                                           24    ///
                                                           25    ///
                                                           26    ///
                                                           27    ///
                                                           28    ///


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                                                            1    IV.    CONCLUSION
                                                            2           Based on the foregoing, a stay of discovery is appropriate while this Court considers
                                                            3    Acceptance Now’s Motion to Dismiss and Motion to Strike. Acceptance Now requests the Court
                                                            4    issue such an order and stay discovery until the Court issues a final order on the pending Motions.
                                                            5

                                                            6

                                                            7    Dated: March 25, 2019.                          SNELL & WILMER L.L.P.
                                                            8
                                                                                                             By:/s/ Michael Paretti
                                                            9                                                   Richard C. Gordon (NV Bar No. 9036)
                                                                                                                Michael Paretti, Esq. (NV Bar No. 13926)
                                                           10
                                                                                                                3883 Howard Hughes Parkway, Suite 1100
                                                           11                                                   Las Vegas, Nevada 89169
                                                                                                                Attorneys for Defendant Acceptance Now
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                                                            1                                      CERTIFICATE OF SERVICE
                                                            2             I, the undersigned, declare under penalty of perjury, that I am over the age of eighteen
                                                            3    (18) years, and I am not a party to, nor interested in, this action. On this date, I caused to be
                                                            4    served a true and correct copy of the foregoing DEFENDANT ACCEPTANCE NOW WEST
                                                            5    LLC’S MOTION TO STAY DISCOVERY PENDING RESOLUTION OF DISPOSITIVE
                                                            6    MOTIONS by method indicated below:
                                                            7

                                                            8
                                                                    BY FAX: by transmitting via facsimile the document(s) listed above to the fax
                                                                      number(s) set forth below on this date before 5:00 p.m. pursuant to EDCR Rule 7.26(a).
                                                                           A printed transmission record is attached to the file copy of this document(s).
                                                            9

                                                           10       BY  U.S. MAIL: by placing the document(s) listed above in a sealed envelope with
                                                                      postage thereon fully prepaid, in the United States mail at Las Vegas, Nevada addressed
                                                           11              as set forth below.
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                                                           12       BY   OVERNIGHT MAIL: by causing document(s) to be picked up by an overnight
                                                                      delivery service company for delivery to the addressee(s) on the next business day.
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                                                           13
                                                                    BY  PERSONAL DELIVERY: by causing personal delivery by                             , a
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                                                           14         messenger service with which this firm maintains an account, of the document(s) listed
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                                                                           above to the person(s) at the address(es) set forth below.
                                                           15

                                                           16       
                                                                     BY ELECTRONIC SUBMISSION: submitted to the above-entitled Court for
                                                                     electronic filing and service upon the Court’s Service List for the above-referenced case.
                                                           17
                                                                    BY   EMAIL: by emailing a PDF of the document listed above to the email addresses of
                                                                      the individual(s) listed below.
                                                           18

                                                           19    and addressed to the following:
                                                           20    David H. Krieger, Esq.                                  Matthew I. Knepper, Esq.
                                                                 Haines & Krieger, LLC                                   Miles N. Clark, Esq.
                                                           21
                                                                 8985 S. Eastern Ave., Suite 350                         Knepper & Clark LLC
                                                           22    Henderson, NV 89123                                     10040 W. Cheyenne Ave., Suite 170-109
                                                                 dkrieger@hainesandkrieger.com                           Las Vegas, NV 89129
                                                           23    Attorneys for Plaintiff Roxanne Whittum                 matthew.knepper@knepperclark.com
                                                                                                                         miles.clark@knepperclark.com
                                                           24                                                            Attorneys for Plaintiff Roxanne Whittum
                                                           25     Dated: March 25, 2019                      /s/ Maricris Williams
                                                                                                             An Employee of Snell & Wilmer L.L.P.
                                                           26

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